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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                 CASE NO.: 4:05cr24-SPM

ANTHONY GOLDMAN, et al.,

           Defendants.
_____________________________/

      ORDER SETTING DEADLINES FOR GOVERNMENT TO RESPOND

      This cause comes before the Court on Defendant, Anthony Goldman’s,

Motion in Limine and Memorandum of Law in Support Thereof (doc. 89). The

Government shall have up to and including December 19, 2005 to file a

response.

      DONE AND ORDERED this 7th day of December, 2005.


                                   s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge
